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                                                                                   August 9, 2021
VIA ECF
The Honorable Gregory H. Woods
United States District Judge
United States District Court
Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007

                      Re:     Delacruz v. Candid Care Co.,​​
                              Case No.: 1:21-cv-5890
Dear Judge Woods,

        The undersigned represents Emanuel Delacruz, (“Plaintiff”) in the above referenced
matter against Defendant, Candid Care Co., (“Defendant”) (collectively the “Parties”). We write,
with Defendant’s consent to inform the Court that the Parties have reached a settlement in
principle and respectfully request that Your Honor dismiss this action with prejudice with the
right to reopen in forty-five (45) days if the Settlement Agreement is not consummated. In light
of the anticipated settlement, the undersigned respectfully requests all currently pending
deadlines in this action be adjourned sine die.

       We thank the Court for its time and attention in this matter.

                                                                          Respectfully submitted,
                                                                       /s/Michael A. LaBollita, Esq.
                                                                          Michael A. LaBollita, Esq.



cc: All counsel of record via ECF
